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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

AYANNA GREENE, as Assignee of Gznee
Cooper, Case No.: 1:23-cv-01163-KMW-EAP

Plaintiff, NOTICE OF VOLUNTARY DISMISSAL
AS TO ACCOUNT RESOLUTION
v. SERVICES, AND CREDIT

COLLECTION
ACCOUNT RESOLUTION SERVICES,
EQUIFAX INC, AND CREDIT
COLLECTION SERVICES,

Defendants.

 

 

NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE AS TO
DEFENDANT EQUIFAX INFORMATION SERVICES LLC

NOTICE IS HEREBY GIVEN that Pro Se Plaintiff Ayanna Greene, as Assignee of
Giznee Cooper, pursuant to Rule 41(a)(i) of the Federal Rules of Civil Procedure, hereby
dismisses all causes of action in her complaint against Defendants ACCOUNT RESOLUTION
SERVICES, and CREDIT COLLECTION SERVICES, with prejudice.

Defendants ACCOUNT RESOLUTION SERVICES, and CREDIT COLLECTION
SERVICES has neither filed an answer to the complaint nor a motion for summary judgement as

to these claims. Dismissal under Rule 41 (a)(i) is therefore appropriate.

Dated: June 17, 2023

Respectfully submitted,
PRO SE PLAINTIFF

Ayanna Greene
Ayanna Greene, as Assignee of
Giznee Cooper
Pro Se Plaintiff

 

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